Filed 02/04/16                                     Case 15-02095                                         Doc 81



                 1   WRIGHT, FINLAY & ZAK, LLP
                     Nichole L. Glowin, Esq. SBN 262932
                 2   4665 MacArthur Court, Suite 280
                 3   Newport Beach, CA 92660
                     Tel: (949) 477-5050; Fax: (949) 608-9142
                 4   nglowin@wrightlegal.net
                 5   Attorneys’ for Defendants, OCWEN LOAN SERVICING, LLC, CIT BANK, N.A. formerly
                 6   known as ONEWEST BANK, FSB erroneously sued herein as CIT BANK N.A., the successor
                     to ONEWEST BANK, FSB and DEUTSCHE BANK NATIONAL TRUST COMPANY, AS
                 7   INDENTURE TRUSTEE FOR INDYMAC HOME EQUITY MORTGAGE LOAN ASSET-
                     BACKED TRUST, SERIES 2006-H4
                 8
                 9
                                             UNITED STATES BANKRUPTCY COURT
             10
                                 EASTERN DISTRICT OF CALIFORNIA- SACRAMENTO DIVISION
             11
                     In re:                              )      Chapter: 13
             12                                          )
                     GIL MARIANO RAPOSO and JOANNE )            BK Case No.: 09-27153
             13
                     CAROL RAPOSO,                       )      Adv. Case No.: 15-02095
             14                                          )
                                        Debtors.         )
             15      ____________________________________)
                     GIL MARIANO RAPOSO and JOANNE )            ANSWER TO FIRST AMENDED
             16
                     CAROL RAPOSO,                       )      COMPLAINT FOR DECLATORY
             17                                          )      RELIEF TO VOID LIEN PURSUANT TO
                                        Plaintiffs,      )      11 U.S.C. § 506(a); RELATED STATED
             18                                          )      CAUSES OF ACTION; AND
             19      vs.                                 )      DETERMINATION OF
                                                         )      DISCHARGEABILITY OF DEBT UNDER
             20      OCWEN LOAN SERVICING, LLC; CIT )           FRBP § 4007
                     BANK N.A., the successor to ONEWEST )
             21      BANK, FSB and DEUTSCHE BANK         )
             22      NATIONAL TRUST COMPANY, AS          )
                     INDENTURE TRUSTEE FOR INDYMAC )
             23      HOME EQUITY MORTGAGE LOAN           )
                     ASSET-BACKED TRUST, SERIES 2006- )
             24      H4                                  )
             25                                          )
                                        Defendants.      )
             26                                          )
             27
                              Defendants, OCWEN LOAN SERVICING, LLC (“Ocwen”), CIT BANK, N.A.
             28
                     formerly known as ONEWEST BANK, FSB erroneously sued herein as CIT BANK N.A., the


                                                                 1
                                               ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                         Case 15-02095                                                  Doc 81



                 1   successor to ONEWEST BANK, FSB (“OneWest”) and DEUTSCHE BANK NATIONAL
                 2   TRUST COMPANY, AS INDENTURE TRUSTEE FOR INDYMAC HOME EQUITY
                 3   MORTGAGE LOAN ASSET-BACKED TRUST, SERIES 2006-H4 (“Deutsche”) (hereinafter
                 4   collectively referred to as “Defendants”), hereby answer the First Amended Complaint
                 5   (“Complaint”) of Plaintiffs GIL MARIANO RAPOSO and JOANNE CAROL RAPOSO
                 6   (hereinafter collectively referred to as “Plaintiffs”) as follows:
                 7                                               PARTIES
                 8          1.      Defendants admit that Plaintiffs are the Debtors in Bankruptcy Case No. 09-
                 9   27153 and that Plaintiffs list their primary residence as 9090 Locust Street, Elk Grove, CA
             10      95624. Except as admitted herein, Defendants are without knowledge or information sufficient
             11      to admit or deny the truth of the remaining allegations contained in Paragraph 1 and therefore
             12      deny each and every remaining allegation contained in Paragraph 1.
             13             2.      Defendants admit Paragraph 2 of the Complaint only to the extent the
             14      information contained therein is confirmed by documentation found in public record;
             15      otherwise, Defendants deny the allegations contained in Paragraph 2 of the Complaint.
             16             3.      Defendants admit Paragraph 3 of the Complaint only to the extent the
             17      information contained therein is confirmed by documentation found in public record;
             18      otherwise, Defendants deny the allegations contained in Paragraph 3 of the Complaint.
             19             4.      Defendants admit Paragraph 4 of the Complaint only to the extent the
             20      information contained therein is confirmed by documentation found in public record;
             21      otherwise, Defendants deny the allegations contained in Paragraph 4 of the Complaint.
             22                                   JURISDICTIONAL ALLEGATIONS
             23             5.      Defendants admit that Plaintiffs were granted a discharge in Bankruptcy Case
             24      No. 09-27153 on November 3, 2014. Except as admitted herein, Defendants are without
             25      knowledge or information sufficient to admit or deny the truth of the remaining allegations and
             26      legal conclusions contained in Paragraph 5 and therefore deny each and every remaining
             27      allegation contained in Paragraph 5.
             28             6.      Defendants deny that this is a core-proceeding and therefore do not consent to



                                                                    2
                                                  ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                    Doc 81



                 1   final orders or judgments by this Court. Except as denied herein, Defendants lack sufficient
                 2   information and are therefore unable to admit or deny Plaintiffs’ legal conclusions contained in
                 3   paragraph 6 of the Complaint, and on that basis deny each and every allegation contained in
                 4   paragraph 6.
                 5           7.     Defendants deny that this is a core-proceeding and therefore do not consent to
                 6   final orders or judgments by this Court. Except as denied herein, Defendants are without
                 7   knowledge or information sufficient to admit or deny the truth of the remaining allegations and
                 8   legal conclusions contained in Paragraph 7 and therefore deny each and every remaining
                 9   allegation contained in Paragraph 7.
             10              8.     Defendants lack sufficient information and are therefore unable to admit or
             11      deny Plaintiffs’ legal conclusions contained in paragraph 8 of the Complaint, and on that basis
             12      deny each and every allegation contained in paragraph 8.
             13              9.     Defendants are unable to admit or deny the allegations regarding Plaintiffs’
             14      consent to this Court rendering a final judgment in this matter.
             15              10.    Paragraph 10 of the Complaint states a legal conclusion for which no response
             16      is required.
             17                                       FACTUAL ALLEGATIONS
             18              11.    Defendants admit Paragraph 11 of the Complaint only to the extent the
             19      information contained therein is confirmed by documentation found in public record;
             20      otherwise, Defendants deny the allegations contained in Paragraph 11 of the Complaint.
             21              12.    Defendants are without knowledge or information sufficient to admit or deny
             22      the truth of the allegations contained in Paragraph 12 and therefore deny each and every
             23      allegation contained in Paragraph 12.
             24              13.    Defendants admit the allegations contained in Paragraph 13 of the Complaint.
             25              14.    Defendants admit that Plaintiffs obtained an order valuing the subject property
             26      at issue herein. Except as admitted herein, Defendants are without knowledge or information
             27      sufficient to admit or deny the truth of the remaining allegations and legal conclusions
             28



                                                                   3
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                  Doc 81



                 1   contained in Paragraph 14 and, therefore, deny each and every remaining allegation contained
                 2   in Paragraph 14.
                 3          15.     Defendants admit that Plaintiffs’ Chapter 13 Plan filed in Bankruptcy Case No.
                 4   09-27153, is attached as Exhibit A to the Complaint.
                 5          16.     Defendants admit that the Order Confirming Plaintiffs’ Chapter 13 Plan entered
                 6   in Bankruptcy Case No. 09-27153, is attached as Exhibit B to the Complaint.
                 7          17.     Defendants admit that the Order Valuing Collateral entered in Plaintiffs
                 8   Bankruptcy Case No. 09-27153, is attached as Exhibits C to the Complaint. Except as admitted
                 9   herein, Defendants are without knowledge or information sufficient to admit or deny the truth
             10      of the remaining allegations contained in Paragraph 17 and therefore deny each and every
             11      remaining allegation contained in Paragraph 17.
             12             18.     Defendants admit Paragraph 18 of the Complaint only to the extent the
             13      information contained therein is confirmed by documentation found in public record;
             14      otherwise, Defendants deny the allegations contained in Paragraph 18 of the Complaint.
             15             19.     Defendants admit that Defendant Ocwen is the current servicer of the of the
             16      second trust deed secured by the property at issue herein. Except as admitted herein,
             17      Defendants are without knowledge or information sufficient to admit or deny the truth of the
             18      remaining allegations contained in Paragraph 19 and therefore deny each and every remaining
             19      allegation contained in Paragraph 19.
             20             20.     Defendants lack sufficient information and are therefore unable to admit or
             21      deny Plaintiffs’ legal conclusions contained in paragraph 20 of the Complaint, and on that
             22      basis deny each and every allegation contained in paragraph 20.
             23             21.     Defendants are without knowledge or information sufficient to admit or deny
             24      the truth of the allegations contained in Paragraph 21 and, therefore, deny each and every
             25      allegation contained in Paragraph 21.
             26             22.     Defendants admit that the Discharge Order entered in Plaintiffs’ Bankruptcy
             27      Case No. 09-27153, is attached as Exhibit F to the Complaint..
             28



                                                                   4
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                  Doc 81



                 1          23.     Defendants lack sufficient information and are therefore unable to admit or
                 2   deny Plaintiffs’ legal conclusions contained in paragraph 23 of the Complaint, and on that
                 3   basis deny each and every allegation contained in paragraph 23.
                 4          24.     Defendants lack sufficient information and are therefore unable to admit or
                 5   deny Plaintiffs’ legal conclusions contained in paragraph 24 of the Complaint, and on that
                 6   basis deny each and every allegation contained in paragraph 24.
                 7          25.     Defendants admit Paragraph 25 of the Complaint only to the extent the
                 8   information contained therein is confirmed by documentation found in public record;
                 9   otherwise, Defendants deny the allegations contained in Paragraph 25 of the Complaint.
             10                                    I. FIRST CLAIM FOR RELIEF
             11                              DECLARATORY RELIEF/QUIET TITLE
             12             26.     Defendants repeat and re-allege each response to paragraphs 1 through 25,
             13      inclusive, of this Answer and incorporate the same as though set forth fully herein.
             14             27.     Defendants lack sufficient information and are therefore unable to admit or
             15      deny Plaintiffs’ legal conclusions contained in paragraph 27 of the Complaint, and on that
             16      basis deny each and every allegation contained in paragraph 27.
             17             28.     Defendants lack sufficient information and are therefore unable to admit or
             18      deny Plaintiffs’ legal conclusions contained in paragraph 28 of the Complaint, and on that
             19      basis deny each and every allegation contained in paragraph 28.
             20             29.     Defendants lack sufficient information and are therefore unable to admit or
             21      deny Plaintiffs’ legal conclusions contained in paragraph 29 of the Complaint, and on that
             22      basis deny each and every allegation contained in paragraph 29.
             23             30.     Defendants lack sufficient information and are therefore unable to admit or
             24      deny Plaintiffs’ legal conclusions contained in paragraph 30 of the Complaint, and on that
             25      basis deny each and every allegation contained in paragraph 30.
             26             31.     Defendants admit that the statutes set forth in Paragraph 31 of the Complaint
             27      speak for themselves and that Plaintiffs did confirm a Chapter 13 Plan in Bankruptcy Case No.
             28      09-27153. Except as admitted herein, Defendants are without knowledge or information



                                                                   5
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                   Doc 81



                 1   sufficient to admit or deny the truth of the remaining allegations contained in Paragraph 31 and
                 2   therefore deny each and every remaining allegation contained in Paragraph 31.
                 3          32.     Defendants lack sufficient information and are therefore unable to admit or
                 4   deny Plaintiffs’ legal conclusions contained in paragraph 32 of the Complaint, and on that
                 5   basis deny each and every allegation contained in paragraph 32.
                 6          33.     Defendants lack sufficient information and are therefore unable to admit or
                 7   deny Plaintiffs’ legal conclusions contained in paragraph 33 of the Complaint, and on that
                 8   basis deny each and every allegation contained in paragraph 33.
                 9          34.     Defendants are without knowledge or information sufficient to admit or deny
             10      the truth of the allegations contained in Paragraph 34 and therefore deny each and every
             11      allegation contained in Paragraph 34.
             12             35.     Defendants admit that Ocwen recorded a reconveyance of second trust deed
             13      secured by the property at issue herein on behalf of its investor, Defendant Deutsche, in
             14      September of 2015. Except as admitted herein, Defendants deny each and every remaining
             15      allegation contained in Paragraph 35.
             16             36.     Defendants admit Paragraph 36 of the Complaint only to the extent the
             17      information contained therein is confirmed by documentation found in public record;
             18      otherwise, Defendants deny the allegations contained in Paragraph 36 of the Complaint.
             19             37.     Defendants lack sufficient information and are therefore unable to admit or
             20      deny Plaintiffs’ legal conclusions contained in paragraph 37 of the Complaint, and on that
             21      basis deny each and every allegation contained in paragraph 37.
             22             38.     Defendants admit that the allegations regarding the relief Plaintiff is seeking
             23      from this Court to void the second deed of trust on the property at issue herein speak for
             24      themselves. Except as admitted herein, Defendants are without knowledge or information
             25      sufficient to admit or deny the truth of the remaining allegations contained in Paragraph 38 and
             26      therefore deny each and every remaining allegation contained in Paragraph 38.
             27             39.     Defendants admit that the allegations regarding the relief Plaintiff is seeking
             28      from this Court to void the second deed of trust on the property at issue herein speak for



                                                                   6
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                Doc 81



                 1   themselves. Except as admitted herein, Defendants are without knowledge or information
                 2   sufficient to admit or deny the truth of the remaining allegations and legal conclusions
                 3   contained in Paragraph 39 and therefore deny each and every remaining allegation contained in
                 4   Paragraph 39.
                 5          40.      Defendants lack sufficient information and are therefore unable to admit or
                 6   deny Plaintiffs’ legal conclusions contained in paragraph 40 of the Complaint, and on that
                 7   basis deny each and every allegation contained in paragraph 40.
                 8          41.      Defendants lack sufficient information and are therefore unable to admit or
                 9   deny Plaintiffs’ legal conclusions contained in paragraph 41 of the Complaint, and on that
             10      basis deny each and every allegation contained in paragraph 41.
             11                                   II. SECOND CLAIM FOR RELIEF
             12                   VIOLATION OF CALIFORNIA CIVIL CODE SECTION 2941(d)
             13             42.      Defendants repeat and re-allege each response to paragraphs 1 through 41,
             14      inclusive, of this Answer and incorporate the same as though set forth fully herein.
             15             43.      Defendants are without knowledge or information sufficient to admit or deny
             16      the truth of the allegations contained in Paragraph 43 and therefore deny each and every
             17      allegation contained in Paragraph 43.
             18             44.      Defendants admit Paragraph 44 of the Complaint only to the extent the
             19      information contained therein is confirmed by documentation found in public record;
             20      otherwise, Defendants deny the allegations contained in Paragraph 44 of the Complaint.
             21             45.      Defendants are without knowledge or information sufficient to admit or deny
             22      the truth of the allegations contained in Paragraph 45 and therefore deny each and every
             23      allegation contained in Paragraph 45.
             24             46.      Defendants are without knowledge or information sufficient to admit or deny
             25      the truth of the allegations contained in Paragraph 43 and therefore deny each and every
             26      allegation contained in Paragraph 43.
             27             47.      Defendants deny each and every allegation contained in Paragraph 47 of the
             28      Complaint.



                                                                   7
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                   Doc 81



                 1          48.     Defendants deny each and every allegation contained in Paragraph 48 of the
                 2   Complaint.
                 3          49.     Defendants lack sufficient information and are therefore unable to admit or
                 4   deny Plaintiffs’ legal conclusions contained in paragraph 49 of the Complaint, and on that
                 5   basis deny each and every allegation contained in paragraph 49.
                 6          50.     Defendants lack sufficient information and are therefore unable to admit or
                 7   deny Plaintiffs’ legal conclusions contained in paragraph 50 of the Complaint, and on that
                 8   basis deny each and every allegation contained in paragraph 50.
                 9          51.     Defendants deny each and every allegation contained in Paragraph 51 of the
             10      Complaint.
             11             52.     Defendants are without knowledge or information sufficient to admit or deny
             12      the truth of the allegations contained in Paragraph 52 and therefore deny each and every
             13      allegation contained in Paragraph 52.
             14             53.     Defendants lack sufficient information and are therefore unable to admit or
             15      deny Plaintiffs’ legal conclusions contained in paragraph 53 of the Complaint, and on that
             16      basis deny each and every allegation contained in paragraph 53.
             17             54.     Defendants lack sufficient information and are therefore unable to admit or
             18      deny Plaintiffs’ legal conclusions contained in paragraph 54 of the Complaint, and on that
             19      basis deny each and every allegation contained in paragraph 54.
             20             55.     Defendants admit that the statutes set forth in Paragraph 55 of the Complaint
             21      speak for themselves. Except as admitted herein, Defendants are without knowledge or
             22      information sufficient to admit or deny the truth of the remaining allegations contained in
             23      Paragraph 55 and therefore deny each and every remaining allegation contained in Paragraph
             24      55.
             25             56.     Defendants admit that the allegations regarding the relief Plaintiff is seeking
             26      from this Court regarding damages and attorney’s fees speak for themselves. Except as
             27      admitted herein, Defendants are without knowledge or information sufficient to admit or deny
             28



                                                                   8
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                    Doc 81



                 1   the truth of the remaining allegations and legal conclusions contained in Paragraph 56 and
                 2   therefore deny each and every remaining allegation contained in Paragraph 56.
                 3                                 III. THIRD CLAIM FOR RELIEF
                 4    (Unfair Practices under California Business &Professions Code Section 17200, et.seq.)
                 5                          (AS TO OCWEN LOAN SERVICING ONLY)
                 6          57.      Defendants repeat and re-allege each response to paragraphs 1 through 56,
                 7   inclusive, of this Answer and incorporate the same as though set forth fully herein.
                 8          58.      Defendants admit that the statutes set forth in Paragraph 55 of the Complaint
                 9   speak for themselves. Except as admitted herein, Defendants are without knowledge or
             10      information sufficient to admit or deny the truth of the remaining legal conclusions contained
             11      in Paragraph 58 and therefore deny each and every remaining allegation contained in
             12      Paragraph 58.
             13             59.      Defendants deny each and every allegation contained in Paragraph 59 of the
             14      Complaint.
             15             60.      Defendants deny each and every allegation contained in Paragraph 60 of the
             16      Complaint.
             17             61.      Defendants deny each and every allegation contained in Paragraph 61 of the
             18      Complaint.
             19             62.      Defendants lack sufficient information and are therefore unable to admit or
             20      deny Plaintiffs’ legal conclusions contained in paragraph 62 of the Complaint, and on that
             21      basis deny each and every allegation contained in paragraph 62.
             22             63.      Defendants deny each and every allegation contained in Paragraph 63 of the
             23      Complaint.
             24             64.      Defendants lack sufficient information and are therefore unable to admit or
             25      deny Plaintiffs’ allegations contained in paragraph 53 of the Complaint, and on that basis deny
             26      each and every allegation contained in paragraph 53.
             27
             28



                                                                   9
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                   Doc 81



                 1          65.     Defendants lack sufficient information and are therefore unable to admit or
                 2   deny Plaintiffs’ legal conclusions contained in paragraph 65 of the Complaint, and on that
                 3   basis deny each and every allegation contained in paragraph 65.
                 4          66.     Defendants deny each and every allegation contained in Paragraph 66 of the
                 5   Complaint.
                 6          67.     Defendants lack sufficient information and are therefore unable to admit or
                 7   deny Plaintiffs’ legal conclusions contained in paragraph 67 of the Complaint, and on that
                 8   basis deny each and every allegation contained in paragraph 67.
                 9          68.     Defendants lack sufficient information and are therefore unable to admit or
             10      deny Plaintiffs’ legal conclusions contained in paragraph 68 of the Complaint, and on that
             11      basis deny each and every allegation contained in paragraph 68.
             12                                  IV. FOURTH CLAIM FOR REVIEF
             13                                          SLANDER OF TITLE
             14             20. (sic)      Defendants repeat and re-allege each response to paragraphs 1 through
             15      68, inclusive, of this Answer and incorporate the same as though set forth fully herein.
             16             21. (sic)      Defendants lack sufficient information and are therefore unable to admit
             17      or deny Plaintiffs’ allegations contained in paragraph 21 (sic) of the Complaint, and on that
             18      basis deny each and every allegation contained in paragraph 21 (sic).
             19             22. (sic)      Defendants lack sufficient information and are therefore unable to admit
             20      or deny Plaintiffs’ allegations contained in paragraph 22 (sic) of the Complaint, and on that
             21      basis deny each and every allegation contained in paragraph 22 (sic).
             22             23. (sic)      Defendants lack sufficient information and are therefore unable to admit
             23      or deny Plaintiffs’ legal conclusions contained in paragraph 23 (sic) of the Complaint, and on
             24      that basis deny each and every allegation contained in paragraph 23 (sic).
             25             24. (sic)      Defendants lack sufficient information and are therefore unable to admit
             26      or deny Plaintiffs’ legal conclusions contained in paragraph 24 (sic) of the Complaint, and on
             27      that basis deny each and every allegation contained in paragraph 24 (sic).
             28



                                                                  10
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                    Doc 81



                 1          25. (sic)      Defendants lack sufficient information and are therefore unable to admit
                 2   or deny Plaintiffs’ legal conclusions contained in paragraph 25 (sic) of the Complaint, and on
                 3   that basis deny each and every allegation contained in paragraph 25 (sic).
                 4          26. (sic)      Defendants deny each and every allegations set forth in Paragraph 26
                 5   (sic) of the Complaint.
                 6          27. (sic)      Defendants lack sufficient information and are therefore unable to admit
                 7   or deny Plaintiffs’ legal conclusions contained in paragraph 27 (sic) of the Complaint, and on
                 8   that basis deny each and every allegation contained in paragraph 27 (sic).
                 9          28. (sic)      Defendants admit that the allegations regarding the relief Plaintiffs are
             10      seeking from this Court regarding damages and attorney’s fees speak for themselves. Except as
             11      admitted herein, Defendants are without knowledge or information sufficient to admit or deny
             12      the truth of the remaining allegations contained in Paragraph 28 (sic) and therefore deny each
             13      and every remaining allegation contained in Paragraph 28 (sic).
             14                                    V. FIFTH CLAIM FOR RELIEF
             15                                          ATTORNEY’S FEES
             16             29. (sic)      Defendants repeat and re-allege each response to paragraphs 1 through
             17      77, inclusive, of this Answer and incorporate the same as though set forth fully herein.
             18             30. (sic)      Defendants lack sufficient information and are therefore unable to admit
             19      or deny Plaintiffs’ legal conclusions contained in paragraph 30 (sic) of the Complaint, and on
             20      that basis deny each and every allegation contained in paragraph 30 (sic).
             21             31. (sic)      Defendants lack sufficient information and are therefore unable to admit
             22      or deny Plaintiffs’ legal conclusions contained in paragraph 31 (sic) of the Complaint, and on
             23      that basis deny each and every allegation contained in paragraph 31 (sic).
             24             32. (sic)      Defendants lack sufficient information and are therefore unable to admit
             25      or deny Plaintiffs’ allegations contained in paragraph 32 (sic) of the Complaint, and on that
             26      basis deny each and every allegation contained in paragraph 32 (sic).
             27
             28



                                                                  11
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                           Case 15-02095                                                    Doc 81



                 1             33. (sic)      Defendants lack sufficient information and are therefore unable to admit
                 2   or deny Plaintiffs’ legal conclusions contained in paragraph 33 (sic) of the Complaint, and on
                 3   that basis deny each and every allegation contained in paragraph 33 (sic).
                 4             34. (sic)      Defendants admit that the statutes set forth in Paragraph 34 (sic) of the
                 5   Complaint speak for themselves. Except as admitted herein, Defendants are without knowledge
                 6   or information sufficient to admit or deny the truth of the remaining allegations contained in
                 7   Paragraph 34 (sic) and therefore deny each and every remaining allegation contained in
                 8   Paragraph 34 (sic).
                 9             35. (sic)      Defendants admit that the allegations regarding the relief Plaintiffs are
             10      seeking from this Court regarding damages and attorney’s fees speak for themselves. Except as
             11      admitted herein, Defendants are without knowledge or information sufficient to admit or deny
             12      the truth of the remaining allegations contained in Paragraph 35 (sic) and therefore deny each
             13      and every remaining allegation contained in Paragraph 35 (sic).
             14                             VI. REQUEST FOR JUDGMENTS AND ORDERS
             15                36 a. (sic) Defendants deny that Plaintiffs are entitled to any of the relief and/or damages
             16      sought.
             17                36 b. (sic) Defendants deny that Plaintiffs are entitled to any of the relief and/or
             18      damages sought.
             19                36 c. (sic) Defendants deny that Plaintiffs are entitled to any of the relief and/or
             20      damages sought.
             21                36 d. (sic) Defendants deny that Plaintiffs are entitled to any of the relief and/or
             22      damages sought.
             23                36 e. (sic) Defendants deny that Plaintiffs are entitled to any of the relief and/or
             24      damages sought.
             25                36 f. (sic) Defendants deny that Plaintiffs are entitled to any of the relief and/or
             26      damages sought.
             27                36 g. (sic) Defendants deny that Plaintiffs are entitled to any of the relief and/or
             28      damages sought.



                                                                     12
                                                    ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                         Case 15-02095                                                       Doc 81



                 1          36 h. (sic) Defendants deny that Plaintiffs are entitled to any of the relief and/or
                 2   damages sought.
                 3          36 i. (sic) Defendants deny that Plaintiffs are entitled to any of the relief and/or
                 4   damages sought.
                 5                                     AFFIRMATIVE DEFENSES
                 6                                   FIRST AFFIRMATIVE DEFENSE
                 7                                        (Failure to State a Claim)
                 8          Plaintiffs have failed to state facts sufficient to constitute any claim for relief against the
                 9   Defendants.
             10                                  SECOND AFFIRMATIVE DEFENSE
             11                                       (Failure to Establish Elements)
             12             Plaintiffs’ claims are barred because they cannot establish all of the elements to each
             13      claim for relief in the Complaint.
             14                                      THIRD AFFIRMATIVE DEFENSE
             15                                            (Suffered No Damages)
             16             Plaintiffs’ claims are barred because Plaintiffs suffered no damages as a result of the
             17      allegations in the Complaint.
             18                                   FOURTH AFFIRMATIVE DEFENSE
             19                                        (Failure to Mitigate Damages)
             20             Plaintiffs’ claims are barred in whole or in part because of the Plaintiffs’ failure to take
             21      reasonable steps to mitigate their damages, if any.
             22                                      FIFTH AFFIRMATIVE DEFENSE
             23                                            (Speculative Damages)
             24             Any purported damages suffered by Plaintiff are speculative and non-compensable under
             25      California law (Code Civ. Proc. §430.10(f).
             26                                      SIXTH AFFIRMATIVE DEFENSE
             27                                            (Statute of Limitations)
             28        Defendants allege that Plaintiffs’ claims are barred by applicable statute of limitations under



                                                                  13
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                         Case 15-02095                                                    Doc 81



                 1   California law (Code Civ. Proc. §337).
                 2                                SEVENTH AFFIRMATIVE DEFENSE
                 3                            (Laches, Unclean Hands, Failure to Do Equity)
                 4                  Defendants allege that Plaintiffs’ claims are barred by the equitable doctrine of
                 5   laches, unclean hands and failure to do equity.
                 6                                EIGHTH AFFIRMATIVE DEFENSE
                 7                                         (Waiver and Estoppel)
                 8          Plaintiffs, by reason of their knowledge, statements, conduct, approval, authorization
                 9   and/or ratification, are estopped from recovery herein.
             10                                   NINETH AFFIRMATIVE DEFENSE
             11                                          (Off Set and Recoupment)
             12             Defendants are entitled to offset and recoupment against any award which may be made
             13      to Plaintiffs by the amount owing by Plaintiffs to Defendants including, without limitation, the
             14      amount of the loan.
             15                                    TENTH AFFIRMATIVE DEFENSE
             16                                            (No Proximate Cause)
             17             The acts and omissions of Defendants alleged in Plaintiffs’ Complaint were not a
             18      proximate cause of the loss or damage for which Plaintiffs seek recovery.
             19                                 ELEVENTH AFFIRMATIVE DEFENSE
             20                             (Direct and Proximate Result of Other Parties)
             21             Defendants are neither liable nor responsible to Plaintiffs herein for the alleged
             22      damages or injuries to Plaintiffs, if any whatsoever, because any damages or injuries sustained
             23      by Plaintiffs herein were the direct and proximate result of the independent, intervening
             24      negligence and/or intentional conduct of Plaintiffs, their agents, and/or other parties.
             25                                  TWELFTH AFFIRMATIVE DEFENSE
             26                                      (Comparative Fault of Plaintiffs)
             27             Plaintiffs were careless and negligent with respect to all matters alleged by them in the
             28      Complaint in that they failed to exercise ordinary or reasonable care on their own behalf at the



                                                                   14
                                                  ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                  Doc 81



                 1   time and place of the events and happenings alleged in the Complaint, and thus was
                 2   comparatively at fault and proximately caused their own damages. Accordingly, any damages
                 3   otherwise recoverable by the Plaintiffs, if any, should be reduced in proportion to their own
                 4   negligence.
                 5                                THIRTEENTH AFFIRMATIVE DEFENSE
                 6                                        (No Proximate Cause)
                 7          The acts and omissions of Defendants, as alleged in Plaintiffs’ claims for relief, were not
                 8   a proximate cause of the loss or damage for which Plaintiffs seek recovery.
                 9                            FOURTEENTH AFFIRMATIVE DEFENSE
             10                                            (Practice Not Unfair)
             11             Defendants’ practices as alleged in the Complaint were not unfair.
             12                                FIFTEENTH AFFIRMATIVE DEFENSE
             13                                     (Additional Affirmative Defenses)
             14             Defendants reserve the right to assert additional affirmative defenses in
             15      the event discovery and/or investigation indicates that additional affirmative defenses are
             16      applicable.
             17                                                   WRIGHT, FINLAY & ZAK, LLP
             18      Dated: February 4, 2016               By:    /s/ Nichole L. Glowin, Esq.
             19                                                   Nichole L. Glowin, Esq.
                                                                  Attorneys for Defendants, OCWEN LOAN
             20                                                   SERVICING, LLC, CIT BANK, N.A. formerly
                                                                  known as ONEWEST BANK, FSB erroneously
             21                                                   sued herein as CIT BANK N.A., the successor to
             22                                                   ONEWEST BANK, FSB and DEUTSCHE BANK
                                                                  NATIONAL TRUST COMPANY, AS
             23                                                   INDENTURE TRUSTEE FOR INDYMAC HOME
                                                                  EQUITY MORTGAGE LOAN ASSET-BACKED
             24                                                   TRUST, SERIES 2006-H4
             25
             26
             27
             28



                                                                  15
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                        Case 15-02095                                                      Doc 81



                 1                                        PROOF OF SERVICE
                 2          I am employed in the County of Orange, State of California. I am over the age of
                 3   eighteen (18) and not a party to the within action. My business address is 4665 MacArthur Court,
                     Suite 280, Newport Beach, California 92660.
                 4
                             On February 4, 2016, I served the foregoing documents described as ANSWER TO
                 5   FIRST AMENDED COMPLAINT FOR DECLATORY RELIEF TO VOID LIEN
                 6   PURSUANT TO 11 U.S.C. § 506(a); RELATED STATED CAUSES OF ACTION; AND
                     DETERMINATION OF DISCHARGEABILITY OF DEBT UNDER FRBP § 4007, on
                 7   the following individuals by depositing true copies thereof in the United States first class mail
                     at Newport Beach, California, enclosed in a sealed envelope, with postage paid, addressed as
                 8
                     follows:
                 9
                            SEE ATTACHED SERVICE LIST
             10
                      [X]   (BY MAIL) I caused such envelope with postage thereon fully prepaid to be placed in the
             11
                            United States mail at Newport Beach, California. I am readily familiar with the firm’s
             12             business practice for collection and processing of correspondence for mailing with the
                            U.S. Postal Service pursuant to which practice the correspondence is deposited with the
             13             U.S. Postal Service the same day in the ordinary course of business.
             14       [ ]   (BY NORCO OVERNITE - NEXT DAY DELIVERY) I placed true and correct copies
                            of thereof enclosed in a package designated by Norco Overnite with the delivery fees
             15             provided for.
             16
                      [X]   (BY ELECTRONIC SERVICE) Pursuant to CM/ECF System, registration as a CM/ECF
             17             user constitutes consent to electronic service through the Court’s transmission facilities.
             18             The Court’s CM/ECF systems sends an e-mail notification of the filing to the parties and
                            counsel of record listed above who are registered with the Court’s EC/ECF system.
             19
             20       [X]   (FEDERAL) I declare that I am employed in the office of a member of the bar of this
                            court at whose direction the service was made.
             21
             22              I declare under penalty of perjury of the laws of the United States that the foregoing is
                     true and correct. Executed on February 4, 2016, at Newport Beach, California.
             23
             24
                              /s/ Brandon Quon
             25             BRANDON QUON
             26
             27
             28



                                                                  16
                                                 ANSWER TO FIRST AMENDED COMPLAINT
Filed 02/04/16                                      Case 15-02095                             Doc 81



                 1                                       SERVICE LIST
                                                      BK Case No.: 09-27153
                 2                                    Adv. Case No.: 15-02095
                 3                        Gil Mariano Raposo v. Ocwen Loan Servicing et.al.

                 4
                     Gil Mariano Raposo
                 5   9090 Locust St
                 6   Elk Grove, CA 95624
                     PLAINTIFF AND DEBTOR
                 7
                     Joanne Carol Raposo
                 8
                     9090 Locust St
                 9   Elk Grove, CA 95624
                     PLAINTIFF AND JOINT DEBTOR
             10
                     Peter L. Cianchetta
             11
                     8788 Elk Grove Blvd. Ste. 2A
             12      Elk Grove, CA 95624
                     COUNSEL FOR PLAINTIFFS AND DEBTORS
             13
                     David Cusick
             14
                     PO Box 1858
             15      Sacramento, CA 95812-1858
                     CHAPTER 13 TRUSTEE
             16
             17      Office of the U.S. Trustee
                     Robert T Matsui United States Courthouse
             18      501 I Street, Room 7-500
                     Sacramento, CA 95814
             19      US TRUSTEE
             20
                     Honorable Ronald H. Sargis
             21      501 I Street, Suite 3-200
                     Sacramento, California 95814
             22      COURT
             23
             24
             25
             26
             27
             28



                                                                17
                                               ANSWER TO FIRST AMENDED COMPLAINT
